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  17                   UNITED STATES DISTRICT COURT
  18                 CENTRAL DISTRICT OF CALIFORNIA
                            SOUTHERN DIVISION
  19
       DONALD WAKEFIELD,               Case No. 8:21-cv-1585-CJC-DFM
  20
                                       Assigned to: Hon. Cormac Carney
               Plaintiff,
  21

  22         v.                                 JOINT REPORT REGARDING
                                                MEDIATION
  23   IGOR OLENICOFF, OLEN
       PROPERTIES CORP.; and DOES 1
  24   through 10, inclusive,                   Complaint Filed: September 27, 2021
  25
                   Defendants,                  Trial Date:      February 21, 2023
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                         JOINT REPORTING REGARDING MEDIATION
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   1         Plaintiff, Donald Wakefield, and Defendants, Igor Olenicoff and Olen
   2   Properties Corp (collectively the “Parties”), by and through their respective
   3   attorneys, hereby advise the Court that they participated in mediation with Mark
   4   Buckstein of Professional Dispute Resolutions, Inc., on December 9, 2022. The
   5   Parties were unable to achieve a settlement and no further negotiations are
   6   currently planned.
   7

   8   Dated: December 12, 2022                  Respectfully submitted,
   9                                                  /s/ William J. O’Brien
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                                                     William J. O’Brien
  11                                                 One, LLP
                                                     Attorneys for Plaintiff, Donald Wakefield
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  13   Dated: December 12, 2022                   /s/ Spencer M. Sax
  14                                                 Spencer M. Sax
                                                     Sachs Sax Caplan
  15                                                 Attorneys for Defendants Olen
                                                     Properties Corp and Igor Olenicoff
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  18                        ATTESTATION REGARDING SIGNATURES
  19         Pursuant to L.R. 5-4.3.4(a)(2)(i) I, William J. O’Brien attest that all
  20   signatories listed, and on whose behalf the filing is submitted, concur in the filing’s
  21   content and have authorized the filing.
  22

  23
       Dated: December 12, 2022             By:         /s/ William J. O’Brien
  24                                                      William J. O’Brien
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                            JOINT REPORTING REGARDING MEDIATION
